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13   Attorneys for Defendant
     MONSANTO COMPANY
14

15
                                  UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
17                                                             )
18   IN RE: ROUNDUP PRODUCTS                                   )     MDL No. 2741
     LIABILITY LITIGATION                                      )
19                                                             )     Case No. 3:16-md-02741-VC
20                                                             )
                                                               )     MONSANTO’S PROPOSED JURY
21   Hardeman v. Monsanto Co., et al.,
                                                               )     INSTRUCTIONS AND VERDICT
22   3:16-cv-0525-VC                                           )     FORM REGARDING THE
                                                               )     CONSUMER EXPECTATION
23                                                             )     TEST
24                                                             )
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      MONSANTO’S PROPOSED JURY INSTRUCTIONS AND VERDICT FORM
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 1                                                  Introduction
 2          Defendant Monsanto Company (“Monsanto”) respectfully submits the following
 3   proposed instruction regarding the consumer expectation test. However, as indicated in
 4   the prior filings and colloquy with the Court, Monsanto does not believe that such a claim
 5   is viable as a matter of law.
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      MONSANTO’S PROPOSED JURY INSTRUCTIONS AND VERDICT
      FORM
                                                          2
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 1                                      JURY INSTRUCTION NO. _
 2                                     (Strict Liability—Design Defect)
 3
            In order to prevail on his design defect claim, Mr. Hardeman must prove that
 4
     Monsanto is legally responsible for the harm that Roundup caused him. Therefore, Mr.
 5
     Hardeman must prove all of the following:
 6

 7
        1. That Roundup, in the context of the facts and circumstances of this particular case,
 8
            is a product about which an ordinary consumer can form reasonable minimum
 9
            safety expectations;
10
        2. That Roundup had a design defect that did not allow it to perform as safely as an
11
            ordinary consumer would have expected it to perform when used or misused in an
12
            intended or reasonably foreseeable way;
13
        3. That Roundup’s design defect was a substantial factor in causing Mr. Hardeman’s
14
            harm.
15

16
            Determining if Roundup’s design defect was a substantial factor in causing Mr.
17
     Hardeman’s harm is a different question than determining that merely using Roundup
18
     was a substantial factor in causing Mr. Hardeman’s NHL. In Phase 1 you had to decide if
19
     Roundup caused Mr. Hardeman’s NHL. Here you must decide if Roundup was
20
     defectively designed, and, if so, whether that defective design was a substantial factor in
21
     causing Mr. Hardeman’s NHL.
22

23
     Source: CACI 1203 (Modified); Pooshs v. Philip Morris USA, Inc., 904 F. Supp. 2d
24
     1009, 1025 (N.D. Cal. 2012) (finding “no evidence that the design of defendants’
25
     cigarettes—as opposed to plaintiff’s smoking of cigarettes—was a substantial factor in
26
     causing her lung cancer.”); Soule v. Gen. Motors Corp., 882 P.2d 298, 308 (1994)
27
     (explaining that the consumer expectation test only allows a finding of defect “if the
28

      MONSANTO’S PROPOSED JURY INSTRUCTIONS AND VERDICT
      FORM
                                                          3
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 1   failure resulted from the product’s design.”) (emphasis added); Browne v. McDonnell
 2   Douglas Corp., 698 F.2d 370, 371 (9th Cir. 1982) (affirming summary judgment in favor
 3   of defendants because “a reasonable jury could not find by a preponderance of the
 4   evidence that the [airplane’s] design was a substantial factor in preventing the crew from
 5   seeing the [other airplane] in time to avoid the collision”).
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      MONSANTO’S PROPOSED JURY INSTRUCTIONS AND VERDICT
      FORM
                                                          4
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 1                                                Verdict Form
 2
                                                  Design Defect
 3

 4
     We answer the questions submitted to us as follows:
 5
        1. In the context of the facts and circumstances of this particular case, can an ordinary
 6
           consumer form reasonable minimum safety expectations about Roundup?
 7
           _____ Yes         _____ No
 8
           If your answer to question 1 is yes, then answer question 2. If you answered no,
 9
           stop here, answer no further questions, and have the presiding juror sign and date
10
           this form.
11
        2. Did Mr. Hardeman prove that Roundup had a design defect that did not allow it to
12
           perform as safely as an ordinary consumer would have expected it to perform when
13
           used or misused in an intended or reasonably foreseeable way?
14
           _____ Yes         _____ No
15
           If your answer to question 2 is yes, then answer question 3. If you answered no,
16
           stop here, answer no further questions, and have the presiding juror sign and date
17
           this form.
18
        3. Did Mr. Hardeman prove that Roundup’s design defect, rather than his mere use of
19
           Roundup, was a substantial factor in causing Mr. Hardeman’s harm?
20
           _____ Yes         _____ No
21
           If your answer to question 3 is yes, then answer question 4. If you answered no,
22
           stop here, answer no further questions, and have the presiding juror sign and date
23
           this form.
24

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     MONSANTO’S PROPOSED JURY INSTRUCTIONS AND VERDICT
     FORM
                                                         5
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 1                                                       Respectfully submitted,
     DATED: March 23, 2019
 2                                                       /s/ _Brian L. Stekloff_________
 3
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     MONSANTO’S PROPOSED JURY INSTRUCTIONS AND VERDICT
     FORM
                                                              6
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 1                                         CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 23rd day of March 2019, a copy of the foregoing was filed
 3   with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all appearing
 4   parties of record.
 5                                                                        /s/ Brian L. Stekloff
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      MONSANTO’S PROPOSED JURY INSTRUCTIONS AND VERDICT
      FORM
                                                          7
      Case No.: 3:16-md-02741
